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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

                                     CLERK’S MINUTES

 CASE NO.: 8:23-cr-388-TPB-CPT                          DATE:     April 22, 2025

 HONORABLE THOMAS P. BARBER

                                                        GOVERNMENT COUNSEL
 UNITED STATES OF AMERICA                               Carlton Gammons, AUSA

 v.                                                     DEFENDANT COUNSEL
                                                        Kevin Darken, ret.
 MATTHEW FREDRIC BERGWALL (1)
 COURT REPORTER: Rebekah Lockwood                       DEPUTY             Sonya Cohn
                                                        CLERK:
                                                        COURTROOM:         14A
 TIME: 10:01 – 10:17 a.m.
 TOTAL:   16 minutes


PROCEEDINGS:       STATUS CONFERENCE

Defendant present. Court discusses feasibility of revoking any computer access/engaging in
certain businesses while on supervision. Defense provides court with suggestions regarding
possible conditions.

Court advises defendant that should incarceration be imposed, he should be prepared to be
remanded at that time.

Sentencing will resume on 6/17/25.
